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                EXHIBIT A
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PETER C. RENN                                  4221 Wilshire Blvd., Suite 280 • Los Angeles, CA 90010
                                                              prenn@lambdalegal.org • 213-382-7600


EDUCATION

Harvard Law School, June 2006
      Honors:      magna cum laude, top 10%
      Activities:  Civil Rights-Civil Liberties Law Review, Executive Editor
                   Lambda, Co-President
                   Asian Pacific American Law Students Association, Member

University of Texas at Austin, B.A. in Psychology & Plan II, May 2003
      Honors:        summa cum laude
                     Distinguished Dedman Scholar, Four-Year Merit Scholarship

EXPERIENCE

Lambda Legal Defense and Education Fund, Inc.
Jun. 2010 – Present      Counsel                                                       Los Angeles, CA

Responsible for impact test-case litigation advancing the civil rights of lesbian, gay, bisexual, and
transgender (LGBT) people and everyone living with HIV. Extensive litigation experience in courts
throughout the western region of U.S., including briefing and argument to state and federal appeals
courts. Oversee all aspects of litigation, including drafting of briefs, fact investigation, discovery,
depositions, expert reports, trial preparation, and appeals. Identify potential new matters and devise
case strategy from inception through appeal. Communicate with media regarding cases, which have
been profiled in the New York Times, Los Angeles Times, and Washington Post. Speak at community
events, conferences, and fundraising events. Recipient of the National LGBT Bar Association’s Best
LGBT Lawyers Under 40 Award.

Selected examples:
    • Thornton v. Saul, 2020 WL 5494891 (W.D. Wash. Sept. 11, 2020): Counsel in challenge to
        denial of social security survivor’s benefits to same-sex couples wholly barred from marriage
        by unconstitutional state laws. Obtained class certification and nationwide injunction.
    • Ely v. Saul, 2020 WL 2744138 (D. Ariz. Jul. 24, 2020): Counsel in challenge to denial of social
        security survivor’s benefits to same-sex couples barred from marriage for requisite duration by
        unconstitutional state laws. Obtained class certification and nationwide injunction.
    • Fletcher v. State of Alaska, 443 F. Supp. 3d 1024 (D. Alaska 2020): Counsel in challenge on
        behalf of transgender state librarian denied access to gender-affirming surgical care. Obtained
        summary judgment on liability finding that state’s exclusion on care violated Title VII.
    • Ray v. McCloud, 507 F. Supp. 3d 925 (S.D. Ohio 2020): Counsel in case holding that denial of
        birth certificates to transgender people matching their gender identity is unconstitutional.
    • Gender and Sexuality Alliance v. Spearman, 2020 WL 1227345 (D.S.C. Mar. 11, 2020): Counsel in
        challenge to anti-gay school curriculum law. Obtained consent decree enjoining enforcement.
    • Karnoski v. Trump, 926 F.3d 1180 (9th Cir. 2019): Counsel in challenge to federal policy
        excluding transgender people from military service. Obtained appellate ruling holding that
        discrimination against transgender people requires heightened constitutional scrutiny.
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   •   Cervelli v. Aloha Bed & Breakfast, 415 P.3d 919 (Haw. Ct. App. 2018), cert. denied, 139 S. Ct. 1319
       (2019): Counsel for same-sex couple denied access to business based on owner’s religious
       beliefs. Obtained ruling that free exercise of religion does not justify discrimination.
   •   L.C. v. M.G., 430 P.3d 400 (Haw. 2018), cert. denied, 140 S. Ct. 234 (2019): Counsel on appeal
       in case holding that marital presumption of parentage applies equally to same-sex spouses.
   •   F.V. v. Barron, 286 F. Supp. 3d 1131 (D. Idaho 2018): Counsel in case holding that denial of
       birth certificates to transgender people matching their gender identity is unconstitutional.
   •   Carcaño v. McCrory, 203 F. Supp. 3d 615 (M.D.N.C. 2016): Counsel with ACLU in pending
       challenge to North Carolina laws discriminating against transgender people in access to public
       facilities. Obtained preliminary injunction barring enforcement of law against clients.
   •   Rosati v. Igbinoso, 791 F.3d 1037 (9th Cir. 2015): Counsel on appeal for transgender prisoner
       seeking access to medically necessary transition-related surgical care. Briefed and argued
       appeal, resulting in reversal of district court dismissal.
   •   Sevcik v. Sandoval, 911 F. Supp. 2d 996 (D. Nev. 2012), rev’d sub nom. Latta v. Otter, 771 F.3d 456
       (9th Cir. 2014): Counsel for same-sex couples seeking freedom to marry in Nevada. Ninth
       Circuit reversed summary judgment for defendants, allowing same-sex couples to marry.
   •   Harris v. Millennium Hotel, 330 P.3d 330 (Alaska 2014): Counsel for same-sex partner of
       shooting victim denied lifetime survivor’s benefits due to exclusion of same-sex couples from
       marriage. Argued and obtained victory before Alaska Supreme Court.

Summer 2004                    Legal Intern                                               New York, NY
Provided legal research and analysis in a wide variety of matters, including relationship recognition,
HIV discrimination, and healthcare discrimination.

Summer 2003                    Education & Public Affairs Intern                             Dallas, TX
Created directory of regional LGBT organizations, resources, and attorneys. Monitored news articles
and maintained archive of press clippings. Prepared Lawrence v. Texas rally and celebration.

Munger, Tolles & Olson, LLP
Oct. 2008 – Jun. 2010           Litigation Associate                                  Los Angeles, CA
Summer 2005                     Summer Associate
Substantial commercial litigation experience in federal and state court. Conducted fact investigation,
prepared and responded to written discovery, took and defended depositions, drafted dispositive
motions, prepared for jury trial, and participated in settlement negotiations. Handled pro bono cases
involving constitutional torts and LGBT rights.

Honorable Lawrence K. Karlton, U.S. District Court for the Eastern District of California
Sept. 2006 – Aug. 2008      Law Clerk                                                Sacramento, CA
Drafted orders and bench memoranda. Assisted judge in civil pre-trial and trial matters.

ACLU Lesbian & Gay Rights Project
Summer 2005                    Legal Intern                                           New York, NY
Researched legal challenge to ban on marriage for same-sex couples. Developed novel statutory claim
in employment discrimination case brought by transgender plaintiff against federal government.




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Gay & Lesbian Advocates & Defenders
Spring 2005                    Legal Intern                                                Boston, MA
Fall 2003 – Spring 2004        Legal Hotline Volunteer
Researched equal protection issues in marriage equality litigation. Provided legal information to
callers regarding LGBT issues in New England.

BAR ADMISSIONS

California State Bar; Central, Eastern, and Northern Districts of California; Fourth, Fifth, Ninth,
D.C., and Federal Circuits; United States Supreme Court




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                                    NORA HUPPERT (she/her)
                65 E. Wacker Pl., Suite 2000, Chicago, IL 60601 • nhuppert@lambdalegal.org

ADMISSIONS
    Admitted in California. Admission pending in Illinois.
    Admitted to the Ninth, Tenth, and Eleventh Circuit Courts of Appeals.

EDUCATION
COLUMBIA LAW SCHOOL, New York, NY
Juris Doctor, May 2019
       Honors:      Harlan Fiske Stone honors (2017-2018 & 2018-2019)
                    Allan Morrow Sexuality and Gender Law Prize
       Activities: Columbia Journal of Law and Social Problems (articles editor)
       Publication: “The Illinois Millionaire’s Exemption and the Utility of Campaign Contribution Limits,”
                    (COLUM. J.L. & SOC. PROBS., 2019)
       Association: National Trans Bar Association (member)

FRANKLIN & MARSHALL COLLEGE, Lancaster, PA
Bachelor of Arts in Government, cum laude, May 2014

EXPERIENCE
Lambda Legal
Staff Attorney, Chicago, IL                                                               Sept. 2021 – present
Renberg Fellow, Los Angeles, CA                                                           Sept. 2019 – Sept. 2021
Responsible developing and executing impact litigation advancing LGBT rights. Engaged in litigation that
halted enforcement of Idaho’s 2020 anti-transgender birth certificate law. Participated in litigation challenging
exclusion of gender-confirming care in Alaska Medicaid and West Virginia government health plans. Represent
transgender employee in EEOC proceedings. Drafted complaints, various motions, demand letters, declarations,
and interviewed potential plaintiffs in various LGBTQ+ rights cases. Assisted in drafting amicus briefs,
including in immigration matters. Represented Lambda Legal on coalition that drafted and advocated for
SB132, which ended California’s policy of housing trans women in men’s prisons. Helped to obtain consent
decree enjoining South Carolina anti-LGBT curriculum law.

Transgender Rights Project, Lambda Legal                                                         New York, NY
Legal Intern                                                                                       Spring 2019
Conducted legal research and drafted research memos.

Sexuality and Gender Law Clinic, Columbia Law School                                          New York, NY
Clinic Student                                                                                  Spring 2019
Represented trans asylee in seeking asylum. Assisted in research project into New York Family Court system
in partnership with Bronx Defenders.

New York City Campaign Finance Board                                                             New York, NY
Legal Intern                                                                                      Summer 2018
Conducted legal research and drafted memoranda for staff. Assisted in drafting filings in Board’s enforcement
and collections proceedings in state court.

Criminal Appeals Externship, Center for Appellate Litigation                                     New York, NY
Extern                                                                                        Spring Term 2018
Drafted and edited appellant’s brief in a criminal appeal. Argued the appeal at oral argument before an
Appellate Term panel in March 2019.
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                                          Kara N. Ingelhart
801 North Wabash Street, Apartment 2N  Chicago, Illinois 60611  219-669-1445  kara.ingelhart@gmail.com

LEGAL EXPERIENCE
Lambda Legal Defense and Education Fund, Chicago, Illinois
Staff Attorney                                                                                February 2019-Present
Law Fellow Attorney                                                                    September 2017-January 2019
Skadden Fellow Attorney                                                              September 2015-September 2017
    • Active in all facets of cutting-edge impact litigation, public policy, and education on issues involving
        the rights of lesbian, gay, bisexual, and transgender people and people living with HIV.
    • Represent individuals in federal and state litigation, including cases involving equal access to identity
        documents for transgender people, housing discrimination, equal access to military service for
        transgender people and people living with HIV, public health, conditions of confinement for
        incarcerated individuals, and equal access to sex-segregated facilities for transgender students.
    • Participate in federal, state, and municipal policy working groups, prepare formal comments regarding
        legislation and regulations, educate Congressional staffers, and author presidential transition
        memoranda.
    • Review and assess legal intakes for potential litigation or advocacy opportunities.
    • Serve as spokesperson for Lambda Legal, clients, and partners.
    • Help develop and execute effective media strategies.
    • Collaborate with other Lambda Legal departments including communications and development.
    • Conduct trainings and educational programs on all aspects of Lambda Legal’s mission.
    • Hire and manage law fellows, paralegals, and legal interns.
    • Former Equity, Diversity, and Inclusion Committee Co-Chair.
    • Skadden Fellowship designed to serve low-income LGBTQ youth with juvenile or criminal records by
        addressing barriers that they face in accessing housing, employment, and educational opportunities.

EDUCATION
The University of Chicago Law School, Chicago, Illinois
Juris Doctor                                                                                    June 2015
    • Student Attorney, Mandel Legal Aid Clinic Mental Health Project
    • Student Leadership: OutLaw, President & Law Students for Reproductive Justice, Vice President
The University of Chicago School of Social Service Administration, Chicago, Illinois
Certificate – Graduate Program in Health Administration and Policy, Global Health Concentration         June 2015
Indiana University, Bloomington, Indiana
Bachelor of Arts in Biology & Gender Studies, Highest Honors                                            May 2012
   • Phi Beta Kappa Society Member
   • Research Assistant, The Kinsey Institute for Research in Sex, Gender & Reproduction

REPRESENTATIVE CASES
B.L. v. Mahanoy Area School District (U.S. Sup. Ct.)
        Co-authored amicus brief regarding schools’ obligation to address legitimately harmful speech such as
        bullying, harassment, and threats of violence—whether or not it occurs on school grounds—but must
        be very specific and distinct with their actions to not overextend their authority.
Doe v. AJ Boggs & Company (Superior Court, San Francisco County, California)
        Counsel for certified class of 93 low-income Californians living with HIV whose confidential medical
        records—including their HIV status—were compromised by a data breach of A.J. Boss’s California
        AIDS Drug Assistance Program (ADAP) online enrollment system.
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                                                                                            Kara N. Ingelhart 2

Walter v. Walter (Ind. Ct. of Appeals)
       Co-authored amicus brief in support of a lesbian mother appealing a decision (seeking transfer to the
       state high court) denying her primary custody after her ex-husband argued that she should lose
       custody because of her lesbian relationship.
Ray v. McCloud (S.D. Ohio); Foster v. Andersen (D. Kansas); Arroyo González v. Rosselló (D. P.R.); & F.V. v.
Jeppesen (D. Idaho)
        Counsel for transgender people challenging Kansas’s, Ohio’s, Puerto Rico’s, and Idaho’s refusal to
        allow transgender people to correct the gender marker on their birth certificates.
Hobby Lobby v. Ill. Human Rights Comm’n; Ill. Dept. of Human Rights; & Meggan Sommerville (Ill. App. Ct. 2nd
Dist.)
       Co-authored amicus brief regarding the application of laws barring discrimination because of “sex” to
       transgender people, including the requirement of equal access to sex-segregated facilities.
Stinson v. Florida (Circuit Court First Judicial Circuit, Walton County, Florida)
        Counsel for senior citizen seeking post-conviction relief from a more than three-fold sentencing
        enhancement (twenty-one years over the recommended sentence) based on his HIV-positive status.
Roe v. Austin (E.D. Va.); Harrison v. Austin (E.D. Va.); Deese v. Austin (D. Md.)
        Counsel for U.S. military service members and military academy cadets refused commission or facing
        discharge based on their HIV-positive status.
Judd v. Judd (Ill. App. Ct. 2nd Dist.)
        Counsel for Illinois non-biological mother whose former spouse appealed determination of shared
        custody of their daughter.
Karnoski v. Trump (W.D. Wash., 9th Cir., U.S. Sup. Ct.)
       Counsel for transgender people challenging the constitutionality of the Trump Administration’s ban on
       military service by transgender individuals.
Dorn v. Michigan Department of Corrections (W.D. Mich.)
       Counsel for formerly incarcerated individual who was disproportionately punished for his HIV-
       positive status, including spending nearly a year in solitary confinement, under discriminatory
       Michigan statute and corresponding procedures.
Wetzel v. Glen St. Andrew Living Community (N.D. Ill., 7th Cir.)
       Counsel for older lesbian woman facing discrimination based on her sex and sexual orientation in
       independent living community, through claims under the Fair Housing Act and the Illinois Human
       Rights Act.
Evancho v. Pine Richland School District (W.D. Pa.)
       Counsel for transgender students in Pine Richland School District challenging a School District
       resolution that requires transgender student to use restrooms according to their sex assigned at birth.
Anders v. San Francisco County Superior Court, aka Doe v. Kink.com (Cal. Ct. App.)
       Co-authored amicus brief regarding medical privacy rights, HIV-related stigma, public health goals,
       and statutory intent in the context of HIV testing.
Erotic Service Provider Legal, Education and Research Project v. Gascón (9th Cir.)
        Co-authored amicus brief regarding intersection of due process and criminal prostitution and
        solicitation laws as they relate to public health and HIV.
Whole Woman’s Health v. Hellerstedt (U.S. Sup. Ct.)
      Co-authored amicus brief regarding intersection of fundamental rights and equal protection as they
      relate to reproductive justice.
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                                                                                           Kara N. Ingelhart 3

SELECTED PRESENTATIONS , TESTIMONY, & POSTERS
Lavender Law Conference                                                                           July 2021
Plenary (with Judge Michael Jacobs, Ezra Young, Alexander Chen, Nancy Marcus, Sarah Warbelow, Josh
Blecher-Cohen, Imani Rupert-Gordon, and Bendita Malakia): Bridging the Gap in LGBTQ+ Rights Litigation: A
Community Discussion on Bisexual Visibility in the Law
Presentation (with Arli Christian, Charlie Arrowood, Omar Gonzalez-Pagan, & AC Dumlao): New Era of Access
to IDs for Trans and Non-Binary People
Presentation (with Sean Bland, Benjamin Brooks, & Tamika Spellman): Protecting LGBTQ+ Sex Workers Through
Decriminalization and Intersectional Policy Approaches
Connecticut Bar Association                                                                           June 2021
Presentation: Discrimination Against Members of the Military Who Are HIV-Positive
Schiff Hardin LLP                                                                                     June 2021
Presentation: Pride Month 2021 Program
Chicago Bar Association, Labor & Employment Division                                                  May 2021
Sex Discrimination Seminar: Emerging Trends and Issues
Presentation: Non-Discrimination Protections for LGBTQ Employees in Illinois After Bostock
Panel (with Jennifer Jones & Deborah Hamilton): Recent Trends and Issues in Sex Discrimination
University of Chicago Law School                                                                     April 2021
Diversity Scholar Series: Transgender Inclusion
Indiana University McKinney School of Law, Indianapolis, IN                                       February 2021
Guest Lecture: Litigating LGBTQ+ Issues – LGBTQ+ Students’ Rights
Baker McKenzie LLP                                                                                November 2020
Presentation (with Scott Schoettes & Shelly Skeen): Improving the Lives of People Living with—And Communities
Most Affected by—HIV
Illinois State Bar Association Labor & Employment Law Section                                   October 2020
Presentation (with Aaron B. Maduff): LGBTQ Rights after Bostock v Clayton County (USSC)—Implications for
Employees and Employers
Lavender Law Conference                                                                           August 2020
Presentation (with Eric Paulk, Amir Sadeghi, Bamby Salcedo, & Brad Sears): The Criminalization of Disease—
Lessons from HIV, Hepatitis, and COVID-19
University of Chicago Law School                                                                    January 2020
Panelist (with Professors Mary Anne Case & Steve Sanders): Title VII, Sexual Orientation, & Gender Identity
Pritzker Military Library                                                                         December 2019
Panelist (with Scott Schoettes, Sgt. Nick Harrison, & Sasha Buchert): Transgender & HIV Military Ban Panel with
U.S. Rep. Mike Quigley
North Dakota Advisory Committee to the U.S. Commission on Civil Rights Briefing                  June 2019
Public Hearing Testimony (with North Dakota State Rep. Ruth Buffalo, Hukun Abdullahi, Laetitia Mizero
Hellerud, Barry Nelson, Jack Russell Weinstein, & Miriam Zeidman): Hate Crimes in North Dakota
University of Chicago Law School                                                                     April 2019
Panelist (with Scott Schoettes, Peter Perkowski, & Julie Bauer): HIV & the Military
Indiana University Maurer School of Law, Bloomington, IN                                           March 2019
Presentation (with Professor Steve Sanders): LGBTQ Equality in the Courts: An Update on Current Controversies
Cook County Board of Commissioners                                                             February 2019
Public Hearing Testimony: Resolution Condemning Trump Administration Treatment of Transgender, Gender Non-
Conforming, & Intersex Individuals
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National Asian Pacific American Bar Association Conference                                        November 2018
Panelist (with Rachel See, Brynn Tannehill, & Kage Adams): Stories from the Front Lines: Military Policies
Regarding Openly Transgender Americans
Ohio State Bar Association                                                                   September 2018
Presentation (with Susan Becker & Alana Jochum): Seventh Annual LGBTQ & Allies Diversity & Inclusion
Conference
Defense Research Institute (DRI) Employment & Labor Law Conference                                   May 2018
Panelist (with Craig R. Thorstensen): Addressing Claims of Discrimination Involving the LGBT Community
Defense Research Institute (DRI) Retail & Hospitality Litigation Conference                         May 2018
Panelist (with Leon B. Silver, Katina Thornock, & Kristen Wilson): Transgender Bathrooms: Where Can We Go
Wrong?
DePaul College of Law                                                                                 March 2018
Panelist (with Miles Shultz & Lori Ecker): Journal of Women, Gender & Law Symposium
Chicago Bar Association                                                                           February 2018
Panelist (with John Knight, Lark Mulligan, Maria Pahl, & Mike Ziri): Serving LGBT Clients in 2018: What You
Need to Know
Congressional LGBT Equality Caucus Staff Briefing                                            January 2018
Panelist (with Shayla Schlossenberg, Preston Mitchum, Magalie Lerman, & Kate D’Adamo): The Impact of Sex
Work Laws on LGBTQ Community
Creating Change Conference                                                                       January 2018
Presentation (with Daniel Bruner, Guillaume Bagal III, & Kate D’Adamo): Criminalizing Sex Work: Exploring the
Full Scope of the Law
Wake Forest University School of Law                                                       November 2017
Presentation (with Nii-Quartelai Quartey, Paula Kohut, & Yemi Adegbonmire): LGBT Advocacy and Aging
Lavender Law Conference                                                                        August 2017
Presentation (with Daniel Bruner, Maria Carmen Hinayon, & Richard Saenz): Sex Workers and the Criminal Law:
An LGBT Issue
Creating Change Conference                                                                          January 2017
Presentation (with Meghan Maury & Shelby Chestnut): Reentry: Breaking the Cycle of Incarceration for LGBTQ
People and PLHIV
Presentation (with Candace Bond-Theriault): Stop the Stigma: Queer Identity, Abortion Stigma and Politics of the
Closet
Presentation (with Kate D’Adamo, Victoria Roldriguez-Roldan, & Joanna Cifredo): Decriminalization of the Sex
Trade
Coalition for Juvenile Justice Conference                                                               April 2016
Poster: LGBTQ Youth & Disproportionate Juvenile & Criminal Justice System Contact: Policing, Prosecution and
Sentencing & the Collateral Effects of a Record
Creating Change Conference                                                                          January 2016
Presentation (with Rachel Brady, Candace Moore, & Geoffrey Winder): Perspectives on Policing Young People in
Schools
Presentation (with Lam Ho): Sex Work Decriminalization: A History, Personal Experiences, and Advocacy Tools

ADMISSIONS, AWARDS, & AFFILIATIONS
   •   State Bar Admission: Illinois
   •   U.S. District Courts: Northern District of Illinois & Western District of Michigan
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•   U.S. Courts of Appeals: Fourth Circuit, Seventh Circuit, & Ninth Circuit
•   U.S. Supreme Court
•   Illinois State Bar Association
•   National LGBT Bar Association 40 Best Lawyers Under 40 Award, 2020
•   Windy City Times 30 Under 30 Award, 2016
    (awarded for contributions made to the Chicago LGBTQ community)
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                               MONICA G. COCKERILLE
                                      100 W. Main Street,
                                          Suite 204
                                        Boise, ID83706
                                        (208) 850-3075

EXPERIENCE

Cockerille Law Office, P.L.L.C.
September 2005 – Present

       Responsible for the management of all litigation for Boise Cascade Company (FKA
       Boise Cascade, L.L.C.), a timber and wood products manufacturer and distributor of
       building supplies, and for Packaging Corporation of America (PCA), a manufacturer and
       distributer of paper and corrugated containers. Manage an average of 30 to 50 cases in
       both Federal and state courts across the United States in a variety of areas including
       personal injury, employment, and contracts. In addition to litigation management,
       provide transactional support to Boise Cascade Company and PCA as well as
       transactional support to The Amalgamated Sugar Company. Transactional support
       includes labor and employment advice, contracts, real estate, intellectual property
       advice, corporate governance, and other general business support.

       Provide legal services to individuals and families with assisted reproduction/fertility law
       needs, including drafting gestational carrier agreements, completing court parentage
       paperwork at the time of birth, and other legal advice and services in the area of
       assisted reproduction. Art Fellow of the Academy of Adoption & Assisted Reproduction
       Attorneys.

OfficeMax Incorporated
(FKA Boise Cascade Corporation)
Associate General Counsel, February 2003 – August 2005
Counsel, August 1996 – January 2003

       Handled litigation and transactional work. Spent approximately 4 ½ years handling
       litigation for OfficeMax in state and Federal courts in Idaho and other states, as both
       plaintiff and defendant, including employment-related litigation, commercial disputes, tort
       claims, real property disputes, tax disputes and other litigation. Spent 4 ½ years
       handling transactional work for OfficeMax primarily for their office products distribution
       business. Work included acquisitions, real estate, contracts, intellectual property issues,
       IT related issues and contracts, Federal contracts, and all other issues associated with
       that business. My responsibilities as Associate General Counsel also required
       supervision and training of paralegals, executive assistants and counsel, as well as
       supervision of outside counsel.

Lathrop & Rutledge, LLP
Summer Law Clerk, May 1994 – August 1994 and May 1995 – August 1995

Bailey Pickering & Stock, LLP
Legal Secretary, January 1993 – August 1993

Environmental Protection Agency
Office of Radiation Programs
Summer Intern, May 1992 – August 1992
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EDUCATION

     J.D. University of Wyoming, 1996
     B.A. Political Science and History, minor in Women’s Studies, University of Wyoming,
      August 1992 (Graduated early, with honors)

BAR ADMISSION

     State of Idaho
     State of Utah
     State of Oregon

CIVIC ACTIVITIES

     Past Board Member, Family & Workplace Consortium
     Volunteer Lawyer, Idaho Volunteer Lawyers
     Past Vice-President, Leadership Boise Academy
     Past Board Member, Hidden Springs Charter School
     Past Board Member, Boise School District Foundation
     Idaho City High School, Girls Varsity Basketball Coach
     Idaho City High School, Girls Junior Varsity Volleyball Coach




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                                    C OLLEEN R. S MITH
         877 Main St Suit 1000 | Boise, ID 83702 | 208.388.4873 | crsmith@hawleytroxell.com

EXPERIENCE
Hawley Troxell Ennis & Hawley, Boise, ID
Litigation Associate                                                             March 2021 to Present
    • Represents both plaintiffs and defendants in complex construction, property, insurance, contract,
        and intellectual property disputes.
    • Manages all aspects of civil litigation including motions practice, document discovery, and
        settlement negotiations.
    • Maintains active pro bono practice including representation of GALs in child protection cases.

Covington & Burling LLP, Washington, D.C.
Litigation Associate                                                          October 2018 to March 2021
    • Drafted multiple successful motions to dismiss class action complaints on behalf of several of the
        nation’s leading financial institutions involving FCRA, state law, and breach of contract claims.
    • Drafted all briefs on behalf of global life sciences company during MDL bellwether trial,
        including briefs regarding jury instructions, exclusion of evidence, and directed verdict.
    • Managed the drafting of summary judgment and Daubert motions on behalf of Fortune 500
        chemical and pharmaceutical companies in product liability actions.
    • Negotiated favorable early settlements on behalf of all clients seeking to minimize legal costs.
    • Led team of seven attorneys in pro bono civil rights suit brought on behalf of prisoner against
        county and officers. Negotiated settlement on behalf of client after initial stages of discovery.

The Honorable David C. Nye, U.S. District Court, District of Idaho, Pocatello, Idaho
Judicial Clerk                                                           August 2017 to August 2018

The Honorable N. Randy Smith, U.S. Court of Appeals for the Ninth Circuit, Pocatello, Idaho
Judicial Clerk                                                        August 2016 to August 2017

The Honorable Liam O’Grady, U.S. District Court, Eastern District of Virginia, Alexandria, Virginia
Judicial Clerk                                                          August 2015 to August 2016

The Honorable B. Lynn Winmill, U.S. District Court, District of Idaho, Boise, Idaho
Extern                                                                     May 2013 to August 2013

EDUCATION
William & Mary Law School, Williamsburg, Virginia
   J.D., summa cum laude, May 2015; G.P.A.: 3.85, Class Rank: 1/178 (Valedictorian)
   Lawrence W. I’Anson Award (highest award given to a graduating student by faculty)
   William & Mary Law Review (Symposium Editor)

The College of Idaho, Caldwell, Idaho
   B.S., summa cum laude, Mathematics, Journalism minor, May 2011, G.P.A.: 3.99

BAR ADMISSIONS:
  Licensed to practice law in Idaho, Virginia, and the District of Columbia.
  Admitted to practice in the District of Idaho, Eastern District of Virginia, Ninth and Fourth Circuits.
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                               Michael J. Lanosa
                               Associate

                               Covington & Burling LLP
                               1999 Avenue of the Stars
                               Los Angeles, CA 90067-4643
                               +1 424 332 4780
                               mlanosa@cov.com

Michael Lanosa represents a diverse client base in high-          Practices
stakes litigation, with an emphasis on patent litigation and
                                                                  Litigation and Investigations
insurance recovery. He has litigated in both state and federal
courts as well as before the United States International Trade     Patent Litigation
Commission.                                                        Insurance Recovery

Michael leverages his Doctor of Pharmacy degree and               Industries and Issues
knowledge of pharmacological agents and biotechnology to           Life Sciences
advise clients in patent disputes with a particular emphasis on    Technology
life sciences and technology companies. He has represented            Computer and Electronics
both patent owners and alleged infringers in cases involving a
wide range of technologies including drugs, biologics,
biotechnology, medical devices, software, and electronics.        Education
                                                                   University of Southern California
In addition to patent litigation, Michael also has experience       Gould School of Law, J.D., 2014
representing insurance policyholders in the construction and          Southern California Law
energy industries.                                                      Review, Senior Editor
                                                                      Order of the Coif
                                                                   University of Connecticut,
Representative Matters                                              Pharm. D., 2009
 Representation of a technology company in multiple patent           with honors
   litigation matters involving software for the delivery and
   protection of digital television content.                      Bar Admissions
                                                                   California
 Representation of a power transmission company in an
                                                                   U.S. District Court for the
   insurance recovery action involving a claim for business         Northern District of California
   interruption losses under an all-risk property insurance        U.S. District Court for the
   policy.                                                          Eastern District of Arkansas
                                                                   U.S. Court of Appeals for the
 Representation of a pharmaceutical company in multi-              Eighth Circuit
   district ANDA litigation.                                       U.S. Court of Appeals for the
                                                                    Ninth Circuit
 Representation of a biotechnology company in patent
                                                                   U.S. Immigration Court
   litigation related to gene sequencing microarrays.
 Provided strategic patent analysis and portfolio counseling
   to major pharmaceutical company.
 Representation of a medical device company in patent
   litigation related to cardiac defibrillators.
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 Representation of a pharmaceutical company in patent
  dispute related to humanized monoclonal antibodies.
 Representation of a biotechnology company in patent
  litigation involving chimeric antigen receptor T-cell
  technology.

Pro Bono
 Filing an amicus brief in support of transgender students’
  rights. Amici include the National Association of Social
  Workers, the American Academy of Pediatrics, and the
  American Medical Association.
 Represent two transgender students, their parents, and a
  high school teacher and faculty sponsor of a high school
  LGBTQ student organization as witnesses in connection
  with a lawsuit filed by a former high school teacher
  challenging a school policy requiring teachers to refer to
  transgender students by their chosen names and
  pronouns.
 Filing an amicus brief in opposition to an Arkansas law
  prohibiting healthcare professionals from providing gender-
  affirming care to transgender youth or referring transgender
  youth for such care. Amici include the American Academy
  of Pediatrics, the American Medical Association and the
  American Psychiatric Association.
 Representation of transgender individuals in a lawsuit in
  Idaho federal court seeking to enforce an injunction
  prohibiting the State of Idaho from denying applications
  submitted by transgender individuals requesting that the
  sex marker on their birth certificates be changed to conform
  with their gender identity.
 Representation of a gay man from Ghana in asylum
  proceedings before the Immigration Court and Board of
  Immigration Appeals.
 Representation of an indigent victim of fraud in connection
  with a piece of real property before the California Superior
  Court.


Previous Experience
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 Hon. George H. Wu, U.S. District Court, Central District of
  California, Extern (2013)
 Nexgen Pharma, Legal Intern (2011)


News and Insights
 "Calif. Must Clarify Independent Counsel Rates For
  Insurers," June 29, 2020, Law360
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Isaac Belfer is a litigator who represents a variety of clients in   Practices
high-stakes patent and general commercial litigation.
                                                                     Litigation and Investigations
Prior to joining the firm, he clerked for the Hon. Jerome Farris     Education
on the U.S. Court of Appeals for the Ninth Circuit and the Hon.       Harvard Law School, J.D., 2011
Naomi Reice Buchwald on the U.S. District Court for the                  cum laude
Southern District of New York. Following law school, he                  Harvard Law Review,
practiced in the international arbitration group of an                     Executive Editor
international law firm.                                                  Oberman Memorial Award in
                                                                           Intellectual Property Law
Representative Matters                                                Brown University, A.B., 2008
                                                                         magna cum laude
 Represents a pharmaceutical company in a patent-                       Phi Beta Kappa
    infringement action involving a cholesterol-lowering drug.
 Represents renewable energy investors in a case before             Judicial Clerkship
    the U.S. Court of Federal Claims involving cash grants            Hon. Jerome Farris, U.S. Court
                                                                       of Appeals, Ninth Circuit, 2013 -
    under the American Recovery and Reinvestment Act of
                                                                       2014
    2009.                                                             Hon. Naomi Reice Buchwald,
 Represented a pharmaceutical company in a breach-of-                 U.S. District Court, Southern
                                                                       District of New York, 2012 -
    contract action against a supplier.                                2013

Pro Bono                                                             Bar Admissions
   Filing an amicus brief in support of transgender students’        District of Columbia
    rights. Amici include the National Association of Social          New York
    Workers, the American Academy of Pediatrics, and the
    American Medical Association.
   Representing two transgender students and their parents as
    witnesses in connection with a lawsuit filed by a former high
    school teacher challenging a school policy requiring
    teachers to refer to transgender students by their chosen
    names and pronouns.
 Representation of transgender individuals in a lawsuit in
    Idaho federal court seeking to enforce an injunction
    prohibiting the State of Idaho from denying applications
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  submitted by transgender individuals requesting that the
  sex marker on their birth certificates be changed to conform
  with their gender identity.
 Represents a veteran in an appeal before the U.S. Court of
  Appeals for Veterans Claims.

News and Insights
 "National Law Journal Again Names Covington to “Pro
  Bono Hot List”," May 4, 2020
 "Covington Wins Historic Class Action Victory for
  Veterans," June 14, 2019
 "Covington Secures Key Preliminary Injunction for Indivior,"
  July 13, 2018
 "Covington Prevails for Bombardier in Significant ITC
  Victory," January 26, 2018
 "Note, A Justification for Allowing Fragmentation in
  Copyright," 2011, 124 Harv. L. Rev. 1751
 "Recent Case, First Circuit Adopts Plain Meaning of
  Requirement that Plaintiffs Give Government Their
  Information Before Filing Suit: United States ex rel.
  Duxbury v. Ortho Biotech Products, L.P.," 2010, 123 Harv.
  L. Rev. 1361
 "Case Comment, Necessary and Proper Clause—Civil
  Commitment: United States v. Comstock," 2010, 124 Harv.
  L. Rev. 279
